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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


   RICHARD GRECO, Personal
   Representative of the Estate of
   LEO W. KNOBLAUCH,
                                                    CASE NO: 8:19-CV-01336-MSS-CPT
          Plaintiff,

   v.

   AMERICAN COACH LINES
   OF ATLANTA, INC.,
   a foreign profit corporation, and
   HARTFORD INSURANCE
   COMPANY OF THE SOUTHEAST,
   a foreign profit corporation,,

         Defendant.
   ____________________________________/

    DEFENDANT AMERICAN COACH LINES OF ATLANTA, INC.'S CERTIFICATE
     OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

          Defendant AMERICAN COACH LINES OF ATLANTA, INC., by and through its

   undersigned counsel, hereby discloses the following pursuant to Federal Rule of Civil

   Procedure 7.1 as follows:

          1.      The name of each person, attorney, association of persons, firm, law firm,

   partnership, and corporation that has or may have an interest in the outcome of this action,

   including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded

   companies that own 10% or more of a party’s stock, and all other identifiable legal entities

   related to any party in the case:




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                 a.      Andrew R. Lincoln, Esq. (attorney for Defendant American Coach
                         Lines of Atlanta, Inc.)

                 b.      Jackson Lewis P.C. (attorneys for Defendant American Coach Lines of
                         Atlanta, Inc.)

                 c.      American Coach Lines of Atlanta, Inc. (Defendant)

                 d.      Coach USA, Inc.

                 e.      Coach USA Administration, Inc.

                 f.      Coach USA MBT, LLC

                 g.      Jeannine Jacobson, Esq. (attorney for Defendant Hartford Life and
                         Accident Insurance Company)

                 h.      Robinson & Cole LLP (attorneys for Defendant Hartford Life and
                         Accident Insurance Company)

                 i.      Hartford Life and Accident Insurance Company (Defendant)

                 j.      Kim E. Wells, Esq. (attorney for Plaintiff Richard Greco, Personal
                         Representative of the Estate of Leo W. Knoblauch)

                 k.      Wells Law Group, P.A. (attorneys for Plaintiff Richard Greco, personal
                         representative of the estate of Leo W. Knoblauch)

                 l.      Richard Greco, personal representative of the estate of Leo W.
                         Knoblauch (Plaintiff)

          2.     The name of every other entity whose publicly-traded stock, equity, or debt may

   be substantially affected by the outcome of the proceedings:

                 None.




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          3.      The name of every other entity which is likely to be an active participant in the

   proceedings, including the debtor and members of the creditors’ committee (or 20 largest

   unsecured creditors) in bankruptcy cases:

                  None.

          4.      The name of each victim individual or corporate of civil and criminal conduct

   alleged to be wrongful, including every person who may be entitled to restitution:

                  Richard Greco, as personal representative of the estate of Leo W. Knoblauch,

   has alleged claims in this lawsuit.

          I hereby certify that, except as disclosed above, I am unaware of any actual or potential

   conflict of interest involving the District Judge and Magistrate Judge assigned to this case and

   will immediately notify the Court in writing upon learning of any such conflict.

   DATED this 13th day of June, 2019.
                                                 Respectfully submitted by:

                                                 JACKSON LEWIS P.C.

                                                 /s/ Andrew R. Lincoln
                                                 Andrew R. Lincoln
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                                                 Attorneys for Defendant American Coach
                                                 Lines of Atlanta, Inc.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 13, 2019, a true and correct copy of the foregoing

   Defendant American Coach Lines of Atlanta, Inc.’s Certificate of Interested Persons and

   Corporate Disclosure Statement was filed with the Court, which will send notice via the

   CM/ECF system to the attorney listed below:

   Kim Wells, Esq.
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   Tampa, FL 33619
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                                             By: /s/ Andrew R. Lincoln
                                                 Andrew R. Lincoln




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